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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION

 LONE STAR TECHNOLOGICAL                   §
 INNOVATIONS, LLC,                         §
                                           §   Civil Action No. 6:19-cv-059-RWS
       Plaintiff,                          §
                                           §   LEAD CASE
               v.                          §
                                           §   JURY TRIAL DEMANDED
 ASUS COMPUTER INTERNATIONAL               §
 ET AL,                                    §
                                           §
       Defendants.                         §

       [PROPOSED] ORDER DENYING DEFENDANTS’ MOTION TO STRIKE

      Before the Court is Defendants’ Motion to Strike Claim Construction Brief, Exhibits 2 and
5, and Technology Tutorial (Dkt. No. 86). Having considered the matter, the Court DENIES
Defendants’ motion, it is hereby ORDERED.
